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4    Attorneys for Eagan Avenatti, LLP and
     Michael J. Avenatti
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6
7                         UNITED STATES DISTRICT COURT
8                       CENTRAL DISTRICT OF CALIFORNIA
9
10   In re:                                   CASE NO.: 8:18-cv-01644-VAP-KES
11   EAGAN AVENATTI, LLP.
                                              NOTICE OF BANKRUPTCY
12                                            FILING
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1    TO THE COURT AND TO ALL PARTIES IN INTEREST:
2
3          PLEASE TAKE NOTICE that in order to ensure the proper and orderly
4    distribution of assets from The Trial Group (f/k/a Eagan Avenatti, LLP), as well as
5    prevent a particular creditor from improperly leveraging their position to do permanent
6    and irreversible harm to the ability of other creditors to be paid, on March 7, 2019
7    defendant/debtor The Trial Group (f/k/a Eagan Avenatti, LLP), filed a voluntary petition
8    for relief under title 11 of the United States Code in the United States Bankruptcy Court,
9    Central District of California, Santa Ana Division, bearing Case 8:19-bk-10822. A true
10   and correct copy of the verification of chapter 11 filing is attached hereto as Exhibit "A"
11   and incorporated herein by reference.
12
13         PLEASE TAKE FURTHER NOTICE that pursuant to 11 U.S.C. § 362(a), the
14   filing of the petition operates as a stay of, among other things, (i) the commencement or
15   continuation of any action or proceeding against the debtor that was commenced before
16   the commencement of the chapter 11 case, or to recover a claim against the debtor that
17   arose before the commencement of the chapter 11 case, (ii) the enforcement, against the
18   debtor or against property of the estate, of a judgment obtained before the commencement
19   of the chapter 11 case, including the taking of any debtor examination relating
20   thereto (iii) any act to obtain possession of property from the estate or to exercise control
21   over property of the estate, (iv) any act to create, perfect or enforce any lien against
22   property of the estate, (v) any act to create, perfect, or enforce against property of the
23   debtor any lien to the extent that such lien secures a claim that arose before the
24   commencement of the chapter 11 case, and (vi) any act to collect, assess or recover a
25   claim against the debtor that arose before the commencement of the chapter 11 case.
26
27         PLEASE TAKE FURTHER NOTICE that acts taken in violation of 11 U.S.C. §
28   362 are null and void and actual damages, including costs and attorneys' fees and, in
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1    appropriate circumstances, punitive damages, may be recovered against violators of the
2    automatic stay.
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4    Dated: March 7, 2019                By:         /s/ Michael J. Avenatti
                                               Michael J. Avenatti
5                                              Attorney for Eagan Avenatti, LLP and
                                               Michael J. Avenatti
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                                                          EXHIBIT A
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